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Case 8:20-cv-01184-SB-DFM Document 36 Filed 10/19/20 Page 2 of 2 Page ID #:235




  Trial ☐ Court ☒ Jury             (Mon., 8:30 a.m.)            April 18, 2022
  Pretrial Conference            (Fri., 11:00 a.m.)
  (including hearing on motions in limine)                       April 1, 2022

  Motion to Amend Pleadings/Add Parties                       December 4, 2020
  (Hearing Deadline)
  Discovery Deadline – Nonexpert                                 July 7, 2021

  Discovery Deadline – Expert                                November 10, 2021
   Plaintiffs’ Initial Expert Disclosure                       August 11, 2021
   Defendants’ Initial Expert Disclosure                     September 15, 2021
   Rebuttal Expert Disclosure                                  October 20, 2021
  Motion Hearing Deadline (Friday, 8:30 a.m.)                  January 7, 2022
  Settlement Conference Deadline
  ☐ 1. Mag. J. ☐ 2. Panel ☒ 3. Private
                                                               January 21, 2022
  Post-Settlement Status Conf. (Fri., 8:30 a.m.):              February 4, 2022
  Status Report Due (3 court days before):                     February 1, 2022
  Trial Filings (First Set) Deadline                            March 4, 2022

  Trial Filings (Second Set) Deadline                          March 18, 2022


 The complaint in this case was filed on June 26, 2020 and the answer on August
 31, 2020. The parties had jointly requested a trial date of October 17, 2022, almost
 28 months from the filing of the complaint. The Court recognizes the complexity
 of the case but believes that it is reasonable to expect the trial to start on April 18,
 2022 – almost 22 months from the filing of the complaint. Nevertheless, the Court
 will schedule a status conference in six months, on April 16, 2021, at 8:30 a.m., to
 gauge the progress of the case. The parties should provide a detailed status report
 on April 2, 2021, detailing the work done and demonstrating that the parties have
 been acting with all reasonable diligence.
          IT IS SO ORDERED.

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 CV-90 (12/02)              CIVIL MINUTES – GENERAL                  Initials of Deputy Clerk VPC

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